Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 1 of 11




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 0:17-CV-60018-RNS

   NEIL HEUER, on behalf of himself and all
   others similarly situated,

                 Plaintiff,


   vs.

   NISSAN NORTH AMERICA INC.,

                 Defendant.



          NISSAN NORTH AMERICA INC.’S MOTION TO DISMISS PLAINTIFF’S
           FIRST AMENDED CLASS ACTION COMPLAINT AND SUPPORTING
                           MEMORANDUM OF LAW

         Under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), the Defendant,

  Nissan North America Inc. (“NNA”), moves this Court to enter an Order Dismissing with

  Prejudice the First Amended Class Action Complaint (“Complaint”) filed herein by the

  Plaintiff, Neil Heuer (“Plaintiff”), on behalf of himself and all others similarly situated, and

  submits the following Memorandum of Law in support thereof, under Local Rule 7.1(a).

                                        INTRODUCTION

         Plaintiff filed the Complaint in response to a motion to dismiss the original

  complaint that exposed fatal flaws in that complaint. Plaintiff’s new Complaint, rather

  than eliminate the basis for dismissal, reinforces that Plaintiff’s case is barred by,

  among other things, the statute of limitations. Stripped to its essentials, the Complaint

  brings two causes of action seeking to hold NNA liable for failing to inform Plaintiff of an

  alleged defect in the chemical composition of dashboard materials of the 2009 Nissan
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 2 of 11




  GT-R that he purchased. Based on NNA’s alleged “failure to disclose,” Plaintiff brings

  this putative class action on behalf of himself and all other 2009 Nissan GT-R

  purchasers, as well as purchasers of 2008 and 2010-2017 Nissan GT-Rs.

         Count One, alleging a violation of the Florida Deceptive and Unfair Trade

  Practices Act (“FDUTPA”), Fla. Stat. § 501.201, and Count Two, alleging “unjust

  enrichment,” are time-barred. Both claims have four-year statutes of limitations that

  accrue on the date of sale. Plaintiff purchased his 2009 Nissan GT-R in October 2008

  and initiated this action on January 4, 2017 — more than four years after the statute of

  limitations expired. Plaintiff’s attempt in the new Complaint to plead around the statute

  of limitations bar is unavailing. The conclusory assertion of fraudulent concealment fails

  to allege any conduct that would merit tolling the statute of limitations.

         Moreover, it is black-letter law in the Eleventh Circuit that Plaintiff lacks standing

  to bring claims related to vehicles that he has not purchased. Plaintiff has standing with

  regard to only one of the eleven vehicle model years listed in the Complaint.

  Accordingly, the vast majority of Plaintiff’s claims must be dismissed due to lack of

  standing.

         Count Two must also be dismissed because it simply reiterates the allegations of

  Count One, but labels the claim “unjust enrichment.” Florida law is clear that an unjust

  enrichment claim may be maintained only where a Plaintiff lacks any other adequate

  legal remedy, regardless whether Plaintiff is actually able to succeed in pursuing that

  legal remedy.




                                                2
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 3 of 11




                                 FACTUAL BACKGROUND

         Plaintiff claims that, in approximately October 2008, he purchased a 2009 model

  year Nissan GT-R from a Nissan dealership in Florida. Compl. ¶ 23. He does not

  allege that NNA, directly or through the dealer, made any representations — much less

  misrepresentations — about the dashboard.          At the dealership, Plaintiff “received

  brochures about the Nissan GT-R.” Id. However, he does not allege what he was told

  at the time of purchase, what warranty he received, if any, or on what marketing

  materials he actually relied. See id.

         Plaintiff states that, sometime in June 2016 — almost eight years after he

  purchased the vehicle — the dashboard “began to crack and melt.” Compl. ¶ 24. He

  claims the “melting” has resulted in “glare” when the sun shines on the windshield, and

  adds that the dashboard “gets sticky to the touch and starts to shine.” Id. He claims he

  attempted to have the dashboard repaired for free or at a reduced rate, Compl. ¶ 26, but

  his causes of action are unconcerned with any post-sale conduct by either the

  dealership or NNA. See Compl. ¶¶ 38-53. These allegations are the extent of Plaintiff’s

  factual statements regarding his vehicle.

         Plaintiff alleges that Nissan “became aware of complaints in at least 2006 that

  the dashboards in certain Infiniti vehicles . . . were melting and degrading,” specifically

  the 2003-2008 FX35 and FX45 vehicles. Compl. ¶ 15. Conspicuously absent from the

  Complaint is any allegation that Nissan was aware of complaints from any Nissan (as

  opposed to Infiniti) owner, let alone a GT-R owner, at the time that Plaintiff purchased

  his vehicle. Plaintiff appears to make an attempt to somehow tie in Nissan by alleging

  in conclusory fashion that in 2006 Nissan “continued to install the same dashboards”



                                              3
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 4 of 11




  that were in the Infiniti FX vehicles in Nissan vehicles. Compl. ¶ 16. No facts are

  alleged in support of that statement nor is any explanation given for the counterintuitive

  proposition as to why the supposedly “same dashboards” in the Infiniti vehicles

  generated complaints in 2006 but those very “same dashboards” did not generate

  complaints in the Nissan vehicles (nor any other Infiniti vehicles). Plaintiff cites media

  reports, but fails to mention that the cited reports were broadcast in 2014. Similarly, he

  cites reports at a website named GT-R Life, but fails to mention that those two postings

  occurred in 2014, long after he had purchased his car and after the statute of limitations

  had expired.

         In addition, Plaintiff alleges that Nissan actively concealed the dashboard defect

  from its customers by “instructing its dealers in Florida not to replace the defective

  dashboards for vehicles out of warranty and falsely downplaying the scope of the defect

  in the media in response to investigative reports.” Compl. ¶ 20. Again, conspicuously

  absent from the pleading is any allegation that any of that supposed conduct occurred

  prior to Plaintiff’s purchase of his Nissan GT-R.

                                         ARGUMENT

  I.     PLAINTIFF’S CLAIMS ARE TIME-BARRED.

         Plaintiff’s claims under FDUTPA and for unjust enrichment are time-barred. Both

  claims have four-year statutes of limitations.      See S. Motor Co. of Dade Cty. v.

  Doktorczyk, 957 So. 2d 1215, 1217-18 (Fla. 3d DCA 2007) (applying four-year statute of

  limitations in Fla. Stat. § 95.11(3)(f) to claims under FDUTPA); Beltran v. Miraglia, 125

  So. 3d 855, 859 (Fla. 4th DCA 2013) (applying four-year statute of limitations in Fla.

  Stat. § 95.11(3)(k) to unjust enrichment claims). These causes of action accrue on the



                                               4
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 5 of 11




  date of sale, not when a person may discover the basis for a claim. See Doktorczyk,

  957 So. 2d at 1218 (FDUTPA); Licul v. Volkswagen Grp. of Am., Inc., No. 13-61686-

  CIV, 2013 WL 6328734, at *6 (S.D. Fla. Dec. 5, 2013) (FDUTPA); Beltran, 125 So. 3d at

  859 (unjust enrichment).

         Plaintiff purchased his 2009 GT-R in October 2008. The sale of Plaintiff’s vehicle

  occurred more than four years before he initiated this action on January 4, 2017.

  Therefore, his claims are barred by the statute of limitations.

         Plaintiff cannot avoid the four-year statutes of limitations barring his claims by

  invoking the delayed discovery rule. The delayed discovery rule — under which the

  limitations period would not commence until a Plaintiff learned of the issue — does not

  apply to prevent the accrual of either cause of action. See Yusuf Mohamad Excavation,

  Inc. v. Ringhaver Equip. Co., 793 So. 2d 1127, 1128 (Fla. 5th DCA 2001) (FDUTPA),

  approved by Davis v. Monahan, 832 So. 2d 708, 711-12 (Fla. 2002) (unjust

  enrichment); Marlborough Holdings Grp., Ltd. v. Azimut-Benetti, Spa, Platinum Yacht

  Collection No. Two, Inc., 505 F. App’x 899, 905 (11th Cir. 2013) (FDUTPA).               As

  explained by the Florida Supreme Court, the Florida Legislature clearly delineated,

  through statute, where the delayed discovery rule applied, Fla. Stat. § 95.11; thus,

  under “the principles of statutory construction, . . . it [i]s clear the Legislature did not

  intend the doctrine to apply to all causes of action,” including FDUTPA and unjust

  enrichment claims. Davis v. Monahan, 832 So. 2d 708, 711 (Fla. 2002).

         The Complaint alleges that the doctrine of fraudulent concealment salvages

  Plaintiff’s time-barred claims. It cannot. “[T]o invoke a fraudulent concealment toll,

  Plaintiff must plead facts establishing that Defendant deliberately and actively



                                               5
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 6 of 11




  concealed the material facts for the purpose of inducing [him] to delay filing this action.”

  Speier-Roche v. Volkswagen Grp. of Am., Inc., No. 14-20107-CIV, 2014 WL 1745050,

  at *7 (S.D. Fla. Apr. 30, 2014) (emphasis added). Plaintiff makes two factual allegations

  to support his claim that fraudulent concealment applies. First, Plaintiff claims that NNA

  instructed its dealers not to replace dashboards in out-of-warranty vehicles at a free or

  reduced cost. Compl. ¶ 20. Second, Plaintiff claims that NNA did not divulge the

  “scope” of the alleged defect to the media. Id.

         This is not enough. Such allegations of “inaction and nondisclosure are wholly

  insufficient to supply the affirmative steps taken to prevent Plaintiff[] from discovering

  the basis of [his] claims that would be necessary before tolling based on fraudulent

  concealment becomes appropriate.”          Licul, 2013 WL 6328734, at *6.           Indeed,

  allegations that a defendant “has not publicized the defect to the public” or “warned

  consumers of the defect” will not support a fraudulent concealment toll. Id. (citation to

  complaint omitted). Plaintiff’s only other allegations are conclusory assertions that NNA

  “actively concealed” the supposed defect, Compl. ¶¶ 21, 45, 53 — assertions that are

  “devoid of actual facts showing [defendant’s] purported intent or actions taken to

  conceal the defect[],” as required for the doctrine of fraudulent concealment to apply.

  Licul, 2013 WL 6328734, at *7. As the Licul court explained, “[b]ecause Plaintiffs have

  pled only labels and conclusions to support their theory of fraudulent concealment,

  tolling of the applicable limitations period is inappropriate.” Id. Plaintiff does not plead

  any affirmative conduct that prevented him from bringing his claims within the limitations

  period prescribed by the Florida legislature, and thus there is no basis for tolling the

  statute of limitations. Plaintiff’s claims are barred as a matter of law, and the claims of



                                               6
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 7 of 11




  the putative class likewise fail. Taran v. Blue Cross Blue Shield of Fla., Inc., 685 So. 2d

  1004, 1006 (Fla. 3d DCA 1997).

  II.    PLAINTIFF HAS STANDING ONLY WITH REGARD TO THE 2009 GT-R.

         Even if this suit were not time-barred, Plaintiff would be unable to bring the vast

  majority of the claims he alleges because he lacks standing with regard to any vehicles

  other than the 2009 GT-R.        Standing is a constitutional requirement for a federal

  plaintiff, and it only exists where the plaintiff has a “personal stake in the outcome of the

  controversy.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009). As a matter of

  black-letter law, “in the Eleventh Circuit, a named plaintiff in a consumer class action

  ‘cannot raise claims relating to those other products which he did not purchase.’”

  Garcia v. Kashi Co., 43 F. Supp. 3d 1359, 1394 (S.D. Fla. 2014) (quoting Toback v.

  GNC Holdings, Inc., No. 13-80526, 2013 WL 5206103, at *5 (S.D. Fla. Sept. 13, 2013)).

  That law is dispositive here.

         Indeed, in the Sanborn action involving similar claims relating to twenty-one

  Nissan and Infiniti models, the court recognized this rule, holding that “Plaintiffs cannot

  raise claims relating to those products which they did not purchase.” Sanborn v. Nissan

  N. Am., Inc., No. 0:14-cv-62567, at 4 (S.D. Fla. June 15, 2015), ECF No. 44. It was not

  enough for Plaintiffs to allege a “common defect” in the various model years in their

  Complaint; the court limited the named Plaintiffs in Sanborn to the two specific model

  year vehicles that they had purchased or leased. Id. at 4-5.

         The Sanborn court is not alone in dismissing putative class claims relating to

  unpurchased goods, regardless of similarity. For example, in Garcia v. Kashi Co., 43 F.

  Supp. 3d at 1392, the complaint alleged a FDUTPA violation based on the labeling of



                                               7
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 8 of 11




  more than 80 products, of which the named plaintiffs had purchased only eight. The

  court considered whether, assuming the products were “similar,” the putative class

  representatives could plead injury-in-fact for products they never bought. Id. at 1392-

  93.    In light of Eleventh Circuit authority requiring that “at least one named class

  representative has [to have] Article III standing to raise each [claim],” Prado-Steiman ex

  rel. Prado v. Bush, 221 F.3d 1266, 1279 (11th Cir. 2000), the court held that even the

  purchase of a “substantially similar product” is insufficient to confer standing to

  challenge a non-purchased product. Garcia, 43 F. Supp. 3d at 1393. Accordingly,

  plaintiffs’ FDUTPA claims were limited to the eight purchased products. Id. at 1393-94.

  To the same effect is Reilly v. Amy’s Kitchen, Inc., No. 13-21525, 2013 WL 9638985, at

  *2 (S.D. Fla. Dec. 9, 2013). Plaintiff there pled that she had purchased only three of 60

  different products containing evaporated cane juice.        Citing the Eleventh Circuit

  requirement that the “standing of a named plaintiff . . . be established on a claim-by-

  claim basis,” the court dismissed the Complaint “to the extent it [brought] claims related

  to products Plaintiff did not purchase.” Id. (quoting Prado-Steiman, 221 F.3d at 1279-

  80).

          Here, Plaintiff alleges he purchased the 2009 model year Nissan GT-R, but he

  does not allege that he purchased any of the other eleven vehicles named in the

  Complaint. Compl. ¶¶ 23-26. As such, he has no personal stake, no injury-in-fact, and

  thus no standing with respect to the claims regarding any vehicles but the 2009 model

  year Nissan GT-R. Plaintiff attempts to circumvent the standing problem by asserting

  that the dashboard material and the GT-R vehicles themselves are “materially identical

  from model year to model year.” Compl. ¶ 28. However, as the court in Sanborn



                                              8
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 9 of 11




  understood, it is well-settled law in the Eleventh Circuit that “a named plaintiff in a

  consumer class action lacks standing to challenge a non-purchased product because

  there is no injury-in-fact as to that product, even if he purchased a substantially similar

  product.” Garcia, 43 F. Supp. 3d at 1393 (emphasis added) (citing Toback, 2013 WL

  5206103, at *4-5). Even assuming that the GT-R dashboards are substantially similar

  across model years, the fact remains that, as a matter of law, Plaintiff lacks standing

  with respect to non-purchased vehicles.

         Thus, even if Plaintiff’s claims were not time-barred, Counts One and Two of the

  Complaint must be dismissed with respect to all vehicles and model years for lack of

  standing, the 2009 Nissan GT-R excepted.

  III.   PLAINTIFF CANNOT STATE A CLAIM FOR UNJUST ENRICHMENT.

         Even if this suit were not time-barred, Count Two should be dismissed as

  duplicative of Count One, because Plaintiff already has an adequate legal remedy.

  Plaintiff’s unjust enrichment claim is a mere tack-on; identical to Count One’s FDUTPA

  claim, Count Two states Plaintiff paid more than he otherwise would have for his vehicle

  due to NNA’s nondisclosure of the alleged defect. Compl. ¶¶ 46-53. Where the “unjust

  enrichment claim is a vague catch-all that does no more than incorporate by reference

  the alleged wrongdoing already addressed by [Plaintiff’s] other legal causes of action,”

  the claim “should be dismissed as duplicative.” Licul, 2013 WL 6328734, at *7. An

  unjust enrichment claim cannot be used as a fallback to a FDUTPA claim. Courts

  routinely dismiss unjust enrichment claims that merely restate a FDUTPA claim, even

  where the FDUTPA claim is itself dismissed.          See e.g., id., at *6-7; Prohias v.

  AstraZeneca Pharm., L.P., 958 So. 2d 1054, 1056 (Fla. 3d DCA 2007).



                                              9
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 10 of 11




          It is also “well-established under Florida law that unjust enrichment is an

   equitable remedy that is available only when the plaintiff lacks an adequate remedy at

   law.” Matthews v. Am. Honda Motor Co., No. 12-60630-CIV, 2012 WL 2520675, at *2

   (S.D. Fla. June 6, 2012); see also Jovine v. Abbott Labs., Inc., 795 F. Supp. 2d 1331,

   1341-42 (S.D. Fla. 2011). The fact that Plaintiff’s “unjust enrichment claim is predicated

   on the same wrongful conduct as [his] FDUTPA claim” shows that he “does not lack an

   adequate legal remedy.” Matthews, 2012 WL 2520675, at *2. Because Count Two is

   merely duplicative of Count One, and because Plaintiff has adequate legal remedies,

   Count Two should be dismissed.

                                         CONCLUSION

          WHEREFORE, NNA respectfully requests the Court enter an Order dismissing

   the Complaint in its entirety with prejudice.

   Dated: April 11, 2017                     Respectfully submitted,

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                                                   10
Case 0:17-cv-60018-RNS Document 15 Entered on FLSD Docket 04/11/2017 Page 11 of 11




                                CERTIFICATE OF SERVICE
         I hereby certify that on April 11, 2017, I electronically filed the foregoing with the
   Clerk of the Court for the United States District Court, Southern District of Florida, by
   using the CM/ECF system. I also certify that the foregoing document is being served
   this day on all counsel of record via transmission of Notices of Electronic Filing
   generated by CM/ECF or in some other authorized manner.
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                                               11
